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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

          Plaintiff,

  v.

  MB HOME IMPROVEMENTS,
  INC., et al .,

          Defendants.

  ______________________________________/

                                                  ORDER

          Before the Court is Plaintiff’s Second Motion to Extend the Time to File a Motion for Default

  Final Judgment Against Construction Fort Lauderdale, Inc. [ECF No. 55], filed on January 10, 2025.

  Upon due consideration, it is ORDERED AND ADJUDGED the Motion [ECF No. 55] is

  GRANTED. Plaintiff shall file her motion for default final judgment against Defendant Construction

  Fort Lauderdale, Inc. no later than January 22, 2025. Plaintiff’s failure to file for a motion for default

  final judgment against Construction Fort Lauderdale, Inc. within the specified time will result in a

  dismissal without prejudice as to Defendant Construction Fort Lauderdale, Inc.

          DONE AND ORDERED in the Southern District of Florida on January 12, 2025.




  cc:     counsel of record
